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                            ATTACHMENT A
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              1                          UNITED STATES DISTRICT COURT
                                            DISTRICT OF NEW JERSEY
              2
                   UNITED STATES OF AMERICA,
              3
                            Plaintiff,
              4                                          .   Case No.   09—cv—01303
                   vs.
              5                                          .   Newark, New Jersey
                   HULL,   et al.,                       .   January 4, 2013
              6
                            Defendants.
          7
                                         TRANSCRIPT OF HEARING
              8                          Settlement Conference
                               BEFORE THE HONORABLE MADELINE COX ARLEO
                                    UNITED STATES MAGISTRATE JUDGE

         10       APPEARANCES:

         11       For the Plaintiff:          MICHAEL E. CAMPION, ESQ.
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                                              Newark, NJ 07102
         13                                   (973) 645—2700
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         14
                  For the Defendants:        WILLIAM J. WARD, ESQ.
         15                                  Carlin & Ward, P.C.
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         16                                  P.O. Box 751
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         18
                                             STEVEN JAMES LECHNER,      ESQ.
         19                                  2596 South Lewis Way
                                             Lakewood, CO 80227
         20                                  (303) 292—2021

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         22       Transcription Service:          KING TRANSCRIPTION SERVICES
                                                  901 Route 23 South, Center Ste.     3
         23                                       Pompton Plains, NJ 07444
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         24
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                                                      Proceedings                            2

              1                 (Commencement of proceedings at 1:33 P.M.)

              2

              3                THE COURT:     Okay.     Good afternoon,     everyone.

           4      Everyone else in the back of the courtroom can be seated.

           5                   We’re here in the matter of United States of

           6      America versus Hull.        Could I have appearances, please,         of
           7      counsel.

           8                   MR. CAMPION:     Michael Campion and Jordan Agger

           9      [phonetic]    for the United States.

          10                   THE COURT:     Okay.

          11                   MR. LECHNER:     Steve Lechner and Bill Ward for the

          12      Hulls.

          13                   THE COURT:     Okay.     And I understand the Hulls are

          14      in the courtroom.     Why don’t they come up and they can sit at

          15      counsel table next to their lawyers.              Okay.   And why don’t

          16      the members of whole family state their name for the record.

          17                   MS. MICHELE HULL:        Michele Hull.

          18                   THE COURT:     Okay.

          19                   MS. BONNIE HULL:        Bonnie Hull.

         20                    MR. AARON HULL:        Aaron Hull.

         21                    MR. MATTHEW HULL:        And Matthew Hull.

         22                    THE COURT:     Thank you for coming.         I appreciate

         23       your willingness to participate in this conference today.

         24                  Okay.    So I was pleased to receive the report that

         25       the parties have settled this matter,             and I’d like to state
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                                                    Proceedings                                    3

              1    the terms of the settlement for the record
                                                              .          I know there’s
              2    been some dispute all morning about the
                                                           precise language and
              3    the precise terms.       Suffice it to say that there’s an

              4    agreement that the terms that we talk about
                                                               today on the
              5    record will be incorporated into a document
                                                               called a consent
              6   decree,   which will be signed by the parties and by
                                                                       Judge
              7   Wigenton,    the District Court Judge in this case.             And
              8   attached thereto will be a new survey,          attached,       that will
              9   reflect the terms that we’ve discussed today and
                                                                   the property
          10      that we’re discussing today.           And that there’s    ——   I would     ——




         11       I understand that that survey will be prepared by the

         12       government and that we discussed that certainly
                                                                  the
         13       defendants,    the members of Hull family,       can review and agree
         14       to the survey before it’s attached and filed.              And if there’s
         15       a dispute over the survey        ——   I know there was some dispute

         16       with earlier surveys      —-   you can certainly come back to me and

         17       we’ll do our best to resolve that issue.

         18                    So normally I would ask one of the       ——    either of the
         19       sides to put the terms on the record.           But I think in the
         20       interests of brevity,      it makes sense for me to do so,            and I’m
         21       going to list the terms as they’ve been explained
                                                                    to me by
         22       the parties in as simple language as possible,             and then I’ll
         23       ask either    ——   both sides have the opportunity to comment and

         24       make sure that we have full and fair agreement on
                                                                    all the
         25       material terms.      And then I’m going to ask the Hulls at the
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                                                     Proceedings
                                                                                                 4


              1    end if they       -—   if they understand the terms and they    ——    that
              2    they have agreed to those terms,          as we’ve discussed earlier.

              3   Okay?

              4                    So here are the terms as I understand them.
                                                                                        First,
              5   there’ll be no payment of damages to either side
                                                                   and that
              6   each side will bear its own attorney’s fees and
                                                                  costs.                This
              7   will be a full and final settlement of all claims
                                                                    .             And there
              8   will be     -—   there will be no appeal of the Opinion and Order

              9   of Judge Wigenton.          The parties agree that the government

         10       will own in fee simple the 24 feet of property at
                                                                    issue and
         11       that the Hulls will have an easement over that proper
                                                                        ty.
         12       There is currently a well on the property,          and the parties
         13       agree that they will move the center line to accom
                                                                     modate the
         14       encroachment of the well.          The government has agreed to

         15       vacate the injunction as part of this consent decree
                                                                       .            The
         16       road will be maintained by the government consisten with
                                                                     t
         17       federal law.        I talked earlier about the fact that it will

         18       be   ——   this agreement will be embodied in a consent decree

         19       with a new survey attached.         There was an issue raised about

         20       the right to run power lines.           With respect to that,   the
         21       parties agree that the gov—        ——   with respect to any

         22       applications to run power lines,          the government will apply

         23       the same standards as they do to any other request
                                                                     to such
         24       requests in the Delaware River Water Gap Recreation
                                                                      Area.
         25                    Are there any other terms or any clarifications the
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                                                    Proceedings                              5


           1   government would like to state for the record?

           2               MR. CAMPION:       No,    Your Honor.

           3               THE COURT:       Okay.        Counsel?

           4               MR.   LECHNER:     Your Honor,         I just want to make sure

           5   that the easement that the Hulls receive is fully

           6   transferable and runs with the land.

           7               THE COURT:       That    —-    is that?

           8               MR. CAI’4PION:     That was our understanding,

           9   Your Honor.

         10                THE COURT:       Okay.        Fully transferable and runs with

          11   the land.     Anything else?

          12               MALE SPEAKER:          No, Your Honor.

          13               THE COURT:       Okay.        May I ask the Hulls and ask if

         14    you could each answer the same question.

          15               Did you   -—   did have an opportunity to listen to the

          16   terms that I recited, and are those terms that you have

          17   agreed to to settle these claims?

          18               Counsel   -—   Ms. Hull?

          19               MS. MICHELE HULL:             Yes.

         20                THE COURT:       Ms.    Hull?

          21               MS. BONNIE HULL:          Yes.

          22               THE COURT:       Mr. Hull?

          23               MR. AARON HULL:          Yes.

          24               THE COURT:       Mr. Hull?

          25               MR. MATTHEW HULL:             Yes.
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                                                          Proceedings                              6

              1                  THE COURT:     Okay.        Are you    -—   have you had
              2   enough   ——    I’m going to ask you a couple of additional

              3   questions.       Have you had enough time to consider this

              4   agreement?       And are you       ——   do you feel you’re able to fully

              5   and fairly come to this settlement today?

              6                 Ms. Hull?

           7                    MS. MICI-IELE HULL:         Yes.

          8                     THE COURT:     Ms. Hull?

          9                     MS. BONNIE HULL:           Yes.

         10                     THE COURT:     Mr. Hull?

         11                     MR. AARON HULL:           Yes.

         12                     THE COURT:     Mr. Hull?

         13                     MR. MATTHEW HULL:           Yes.

         14                     THE COURT:     And finally,        are you satisfied with the

         15       representation you’ve received by your lawyers today?

         16                     Ms. Hull?

         17                     MS. MICHELE HULL:           Yes.

         18                     THE COURT:     Ms.    Hull?

         19                     Ms. BONNIE HULL:           Yes.

         20                     THE COURT:     Mr.    Hull?

         21                     MR. AARON HULL:           Yes.

         22                     THE COURT:     Mr. Hull?

         23                     MR. MATTHEW HULL:           Yes.

         24                     THE COURT:     Okay.       Anything further?

         25                     MR. CAMPION:     Not from the government,            Your Honor.
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                                                      Proceedings                            7


              1                THE COURT:     Okay.      I’m going to ask if you can try
              2   to put that consent decree together with
                                                           in 30 days and
              3   circulate and get an agreement on language
                                                             .
              4               And does the government have a sense of when
                                                                           they
              5   can get that survey done and over to Mr.
                                                           Lechner and Mr. Ward
              6   to review with their clients?

              7               MR. CANPION:      I would need to discuss that with my

              8   client,   Your Honor.     I don’t have precise dates.

              9               THE COURT:      Okay.     If you could within the next 30

          10      days just let them know when they can expect it.
                                                                                 So if you
         11       don’t hear from them within 30 days,              let me know and we’ll
         12       try to move that along.        I don’t want that to be out there,

         13       because we can’t settle       -—    fully settle the case until we

         14       have that survey done.

         15                   MR.   CAMPIO:     Yes, Your Honor.

         16                   THE COURT:      Okay.     Thank you for your cooperation.

         17       Thank you for coming today.           Mr.   Lechner,   safe trip back to
         18       Colorado.    And everyone have a nice weekend.            Okay?
         19                   UNIDENTIFIED SPEAKERS:          Thank you.

         20                   FEMALE SPEAKER:         All rise.

         21                   (Conclusion of proceedings at 1:39 P.M.)

         22

         23

         24

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                                             Certification                             8


           1                                Certification

           2         I,   SARA L. KERN,   Transcriptionist,    do hereby certify

           3   that the 8 pages contained herein constitute a full,            true,

           4   and accurate transcript from the official electronic

          5    recording of the proceedings had in the above—entitled

           6   matter; that research was performed on the spelling of proper

          7    names and utilizing the information provided, but that in

          8    many cases the spellings were educated guesses;         that the

          9    transcript was prepared by me or under my direction and was

         10    done to the best of my skill and ability.

         11          I further certify that I am in no way related to any of

         12    the parties hereto nor am I in any way interested in the

         13    outcome hereof.

         14

         15

         16

         17

         18     5/                                           February 11,    2013

         19     Signature of Approved Transcriber                     Date

         20

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                            ATTACHMENT B
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                                                                      U.S. Department of Justice

                                                                      United States Attorney
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      Michael E, Canipion
      Usistant United States Attorney




                                                                     April 30, 2018

      By ECF and U.S. Mail

      Hon. Susan D. rigenton
      United States District Judge
      King Fed. Bldg. & United States Courthouse
      50 Walnut Street, P.O. Box 999
      Newark, New Jersey 07101

                         Re:       United States v. Hull, et al. No. 09-1303 (SDW) (LDW)

      Dear Judge Wigenton:

             As directed by the Court at the hearing on April 26, 2018 in the above-
      referenced matter, the United States submits the enclosed proposed order.

               Thank you for your attention to this matter.

                                                           Sincerely,


                                                           CRAIG CARPENITO
                                                           United States Attorney


                                                     By:   /s Michael F. Carnpion
                                                           MICHAEL E. CAMPION
                                                           Assistant United States Attorney

     cc: Spencer B. Robbins. Esq. (by ECF and email)
